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                       UNITED STATES DISTRICT COURT
                          DISTRICT OF MINNESOTA
                           Criminal No. 22-236 (NEB)

 UNITED STATES OF AMERICA,

                     Plaintiff,
                                                        MOTION TO SEAL
 v.

 HANNA MAREKEGN,

                     Defendant.


       The United States of America, by and through its attorneys, Andrew M. Luger,

United States Attorney for the District of Minnesota, and Craig R. Baune, Assistant United

States Attorney, respectfully submits this motion to seal documents pursuant to Local Rule

49.1(d).

Dated: 9/26/2023                         ANDREW M. LUGER
                                         United States Attorney

                                         s/Craig Baune
                                         BY: CRAIG R. BAUNE
                                         Assistant U.S. Attorney
                                         Attorney ID No. 331727
